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1    MICHAEL B. BIGELOW
     Attorney at Law
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     428 J Street, Suite 350
3    Sacramento, CA 95814
     Telephone: (916) 443-0217
4
     Attorney for Defendant
5    Son Nguyen
6                    IN THE UNITED STATES DISTRICT COURT
7               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,         )   Case No. Cr.S-08-390 GEB
                                       )
10              Plaintiff,             )   STIPULATION AND PROPOSED ORDER
                                       )   CONTINUING STATUS
11        vs.                          )
                                       )   Date: March 27, 2009
12                                     )   Time: 9:00 AM
                                       )   Court: GEB
13   K. N. Phaouthoum, et. al.,        )
                                       )
14                                     )
                Defendant              )
15

16
                       STIPULATION TO CONTINUE HEARING
17
          Pursuant to agreement between the parties it is hereby
18

19
     stipulated that hearing in the above referenced matter be

20   continued to March 27, 2009 at 9:00 AM.

21        The basis for this request is that defense counsel are

22   continuing to review discovery with their clients and are in

23   plea negotiations with the government.
24        IT IS FURTHER STIPULATED that the period from January 9,
25
     2009, (the date currently set for the status conference) through



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1    and including March 27, 2009, be excluded in computing the time
2    within which trial must commence under the Speedy Trial Act,
3
     pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4 for
4
     continuity and preparation of counsel.
5

6
          DATED: January 8, 2009              Respectfully submitted
7

8
                                              /S/MICHAEL B. BIGELOW
9                                             Michael B. Bigelow
                                              Attorney for Defendant
10

11   IT IS SO STIPULATED
12

13
     /S/MICHAEL BECKWITH, Esq.,
14   Michael Beckwith, Esq.,                       Dated: January 8, 2009
     Assistant United States Attorney
15   Attorney for Plaintiff

16
     /S/MICHAEL B. BIGELOW                         Dated: January 8, 2009
17   Michael B. Bigelow
     Attorney for Defendant
18   Son Nguyen
19
     /S/STEVEN BAUER, Esq.,                        Dated: January 8, 2009
20
     Steven Bauer, Esq.,
21   Attorney for Defendant
     Keoudone Noy Phaouthoum
22

23

24

25




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              Case 2:08-cr-00390-GEB Document 69 Filed 01/09/09 Page 3 of 3


1    /S/MARK J. RECHEL, Esq.,                        Dated: January 8, 2009
     Mark J. Reichel, Esq.,
2    Attorney for Defendant
     Kommala Xayadeth
3

4
     /S/JOHNNY L. GRIFFITH III, Esq.,                Dated: January 8, 2009
5    Johnny L. Griffith III, Esq.,
     Attorney for Defendant
6    John Li

7    /S/KRISTA HART, Esq.,                           Dated: January 8, 2009
     Krista Hart, Esq.,
8    Attorney for Defendant
     Than Nguyen
9
     /S/DAVID W. DRATMAN, Esq.,                      Dated: January 8, 2009
10   David W. Dratman, Esq.,
     Attorney for Defendant
11
     Tuy Nguyen
12
     /S/CARL E. LARSON, Esq.,                        Dated: January 8, 2009
13   Carl E. Larson, Esq.,
     Attorney for Defendant
14   Khamsou Sida

15

16
                                      ORDER
17                IT IS ORDERED: that pursuant to stipulation, the
18
     status conference in the above referenced matter shall be
19
     continued until March 27, 2009 at 9:00 PM.
20

21
     1/8/09
22                                          GARLAND E. BURRELL, JR.
                                            United States District Judge
23

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